             6:22-mj-00091-KEW Document 1 Filed in ED/OK on 03/30/22 Page 1 of 8

EDOK Criminal Complaint (Revised 6/13)




                               United States District Court
                                         EASTERN DISTRICT OF OKLAHOMA
UNITED STATES OF AMERICA,
                                                                       SEALED
                                          Plaintiff,

v.                                                                     CRIMINAL COMPLAINT

TRENT LEE STANBERRY,                                                   Case No.         22-MJ-91-KEW

                                          Defendant.



        I, Special Agent Adam Babiker, the undersigned complainant, state that the following is true to
the best of my knowledge and belief.

        On or about May 7, 2021, in the Eastern District of Oklahoma, defendant, TRENT LEE
STANBERRY, committed the crime of Certain Activities Relating to Material Involving the Sexual
Exploitation of Minors in violation of Title 18, United States Code, Sections 22S2(a)(2) & (b)(1) and
22S2(a)(4)(B) & (b)(2).

       I further state that I am a Special Agent with the Federal Bureau ofInvestigation, and that this
complaint is based on the following facts:

        (See attached Affidavit of Special Agent Adam Babiker, which is attached hereto and made a
part hereof by reference.)

                          Continued on the attached sheet.



                                                             FEDERAL BUREAU OF INVESTIGATION

Sworn to before me and subscribed in my presence at: MUSKOGEE, OKLAHOMA


Date: March 30, 2022

KIMBERLY E. WEST
UNITED STATES MAGISTRATE JUDGE
Name and Title of Judicial Officer                           Signature of Judicial Officer
    6:22-mj-00091-KEW Document 1 Filed in ED/OK on 03/30/22 Page 2 of 8




                     AFFIDAVIT   IN SUPPORT      OF CRIMINAL       COMPLAINT

                I, Adam Babiker, a Special Agent with the Federal Bureau ofInvestigation, being

first duly sworn, hereby depose and state as follows:

                                        INTRODUCTION

        1.      I am a Special Agent with the Federal Bureau of Investigation (FBI) and have been

so employed in that capacity since 2019. I am currently assigned to Ardmore Resident Agency

"RA" of the Oklahoma City Filed Office. I am a federal law enforcement officer within the

meaning of Federal Rule of Criminal Procedure 41(a)(2)(C), that is, a government agent engaged

in enforcing the criminal laws and duly authorized by the Attorney General to request a search

warrant and make arrests. Since joining the FBI, I have investigated violations of federal law,

including federal violations concerning child pornography and the sexual exploitation of children.

I have gained experience through training classes and work conducting these types of

investigations. Further, as a federal agent, I am authorized to investigate violations of laws of the

United States and to execute warrants issued under the authority of the United States.

        2.      I am familiar with the circumstances of the offenses described in this affidavit

through a combination of personal knowledge of the facts, discussion with other law enforcement

officials and other investigative activities conducted and investigative materials obtained during

the investigation.

        3.      I make this affidavit in support of an application for issuance of a criminal

complaint and arrest warrant for TRENT STANBERRY,           for violations of Title 18 §§ 2252(a)(2)

and 2252(a)(4)(B). This affidavit does not include all facts known to me, but rather contains facts

sufficient to support the issuance of an arrest warrant. The following statement is true to the best

of my knowledge and belief.



                                                 1
    6:22-mj-00091-KEW Document 1 Filed in ED/OK on 03/30/22 Page 3 of 8



                                            STATUTORY           AUTHORITY

        4.       Distribution     or receipt of child pornography:       18 U.S.C. § 2252(a)(2) prohibits any

person from knowingly           receiving   or distributing,     or attempting    or conspiring      to receive   or

distribute, any visual depiction using any means or facility of interstate or foreign commerce, or

that has been mailed or shipped or transported          in or affecting interstate or foreign commerce,           or

which contains materials which have been mailed or so shipped or transported,                        by any means

including by computer, or knowingly          reproducing       any visual depiction for distribution      using any

means or facility of interstate        or foreign commerce,          or in or affecting    interstate    or foreign

commerce or through the mails, if the production               of such visual depiction involved the use of a

minor engaging in sexually explicit conduct and such visual depiction is of such conduct.

        5.       Possession     of child pornography:        18 U.S.C. § 2252(a)(4)(B)     prohibits any person

from knowingly     possessing      or accessing with the intent to view, or attempting            or conspiring to

possess or access with the intent to view, 1 or more books, magazines,                periodicals,      films, video

tapes, or other matter which contain any visual depiction that has been mailed, or has been shipped

or transported   using any means or facility of interstate or foreign commerce                or in or affecting

interstate or foreign commerce,        or which was produced using materials which have been mailed

or so shipped or transported, by any means including by computer, if the production of such visual

depiction    involved the use of a minor engaging              in sexually   explicit conduct and such visual

depiction is of such conduct.

                                   PROBABLE CAUSE STATEMENT

        6.       As will be shown           below,   there     is probable   cause to believe        that TRENT

ST ANBERY committed a violation of possession and distribution of Child Pornography,                        Title 18,

United States Code, Section 2252(a)(2)          and 2252(a)(4)(B)       per definitions   contained within Title

18 § 2252.



                                                         2
   6:22-mj-00091-KEW Document 1 Filed in ED/OK on 03/30/22 Page 4 of 8



       7.      DEFENDANT: the defendant is TRENT STANBERRY, hereinafter referred to as

STANBERRY.

       8.      On or about July 29, 2021, FBI Oklahoma City - Ardmore RA received a lead from

the National Center for Missing & Exploited Children (NCMEC) through the Oklahoma State

Bureau of Investigation (OSBI).      NCMEC is a non-profit organization that provides law

enforcement, families, and the public to help find missing children, reduce child sexual

exploitation and prevent child victimization. FBI Oklahoma is currently engaged in an

investigation involving Child Sexual Abuse Material (CSAM). Facebook developed new

technology in the fight against child exploitation and has begun to utilize photo-matching

technology, artificial intelligence, and machine learning to proactively detect child nudity and

previously unknown child exploitative content when it's uploaded and quickly identify the content

and accounts that engage in potentially inappropriate interactions with children on Facebook and

report it to NCMEC to prevent additional harm.

       9.      One individual identified during this investigation was TRENT STANBERRY

who resided within the City of Coalgate located within the Eastern District of Oklahoma. As of

March 4,2022, STANBERRY relocated to Yukon, Oklahoma, located in Canadian County, which

is within the Western District of Oklahoma.

       10.    On or about May 8, 2021, Facebook filed a report with the NCMEC which

identified two Facebook accounts that shared six video files, two of these files depict Child

Pornography as defined by Title 18, United States Code, Section 2256. Facebook identified

account number 100023403161053         as belonging to STANBERRY and account number

511198094 as belonging to the unidentified co-conspirator ("UCC").

       11.    Facebook provided the hash values of the two files that contain suspected materials

relating to Child Pornography (possession and distribution). According to Facebook, the two files


                                                 3
   6:22-mj-00091-KEW Document 1 Filed in ED/OK on 03/30/22 Page 5 of 8



were   uploaded      from    STANBERRY         account   UID#     100023403161053,      username

"trent. stanberry. 906" to UCC Facebook account UID# 511198094, username "jjpaajjafaj" on or

about May 7, 2021.

       12.      According to information obtained pursuant to a Federal Grand Jury subpoena

served upon Facebook on August 17, 2021, as well as information obtained from Facebook

pursuant to a search warrant executed on February 9, 2022, the Facebook account user

identification number 100023403161053 was associated with the following individual:

       Facebook Account Information:


       •     Name provided by the account holder: Trent Stanberry
       •     Registered Email Address:trentleestanberry@outlook.com
       •     User Name: trent.stanberry.906
       •     Date of Birth: 05/15/1991

       13.      According to Cyber Tipline Report 89968839 provided by NCMEC, on May 7,

2021, Facebook account UID# 100023403161053, associated with STANBERRY, utilized IP

address 2600:387: 1:813::5c to login to Facebook on that date and send two child pornography files

to Facebook account UID# 511198094, utilized by UCC.

       14.      On August 4,2021, FBI Child Exploitation Operations Unit "CEOU" reviewed the

two videos that were provided by the NEMEC and determined that the videos contain a juvenile

female engaged in various sex acts. According to CEOU, the videos appeared to be professionally

produced to include background music, and the name Graham Greene appeared in the bottom left

comer of the display for each video.

       15.      On or about August 19, 2021, Facebook returned a Grand Jury Subpoena for

STANBERRY         Facebook   account     100023403161053.   A review of Facebook        subpoena

information indicated that IP Address 2600:387: 1:813::19 was used to login into Facebook account

100023403161053. Thus, the incident information specifically date, time, and IP address

                                                4
   6:22-mj-00091-KEW Document 1 Filed in ED/OK on 03/30/22 Page 6 of 8



associated with NeMEC report 89968839 is identical to the Federal Grand Jury subpoena

information provided by Facebook, Inc, and associated with Facebook account 100023403161053.

       16.    On February 10,2022, a Search warrant for Facebook account 100023403161053

"trent.stanberry.906" was obtained and executed. The following information was obtained from

the examination of the Facebook return:

   a. On 05107/2021, and between 15:40 -16: 10, a conversation on Social Media Site Facebook

       took place between STANBERRY, Facebook account number 100023403161053 and

       vee, Facebook account number 511198094. During the conversation, STANBERRY and
       vee exchanged multiple videos and images that depicted various sexual acts and involved
       several prepubescent females.

   b. On May 7, 2021, at 15:21 standard central time, STANBERRY sent a message via

       Facebook messenger to vee and asked, "hey u good to receive." vee responded "yea".

   c. On May 7, 2021, at 15:40, STANBERRY sent a video that depicts sexual acts by a

       prepubescent female. In the video, the prepubescent female has a red towel wrapped around

       her body and a white towel around her head. The prepubescent female is inside a room and

       a bunk bed can be seen behind her. The prepubescent female takes her red towel off and

       begins to rub her vagina while touching and squeezing her left:breast. Then she lifts her

       right leg and placed it on an unseen object and continue to rub her vagina. In the end, she

       licked her fingers and kissed the camera.

   d. Following these photos that were sent by STANBERRY,       vee asked STANBERRY "who
       the small girl", STANBERRY replied "Beside destiny "his wife" no clue on the rest. A

       bit taboo. Mega downloads. I know u like petite teens." Adding, "V got more coming."

   e. On May 7, 2021, at 15:53, STANBERRY sent 7 images to vee depicting prepubescent

       females in various sexual acts. One of the images, "17190056484416" depicts two topless


                                                   5
6:22-mj-00091-KEW Document 1 Filed in ED/OK on 03/30/22 Page 7 of 8



   prepubescent females engaging in a sexual act. The female on the right appears to be 11-

   12 years old and have what appeared to be a male semen on her lips and around her left

   breast. The other female appeared to be an 8-9-years-old and was licking the semen off the

   other prepubescent female's mouth.

f. There were additional pictures of females in various sexual acts sent by STANBERRY to

   DCC but the age of the females was unable to be determined.

g. On May 7,2021, at 16:10, STANBERRY sent an mp4 video "4172176592861921" to

   DCC. The video is 2 minutes in length and depicts a prepubescent female in a wide room

   and completely tied up with a black rope in bondage style, her hands are tied up, and her

   mouth appeared to be gagged with an object to prevent her from speaking. The

   prepubescent female is wearing a short green dress that appears worn out or purposefully

   cut to see through her body. The prepubescent female lays on a gray tarpaulin sheet. A

   face-masked individual wearing dark clothes, high-heel female boots, and latex gloves

   entered the room and immediately grabs the prepubescent female by her ponytail and

   hands, which are still tied and sits her up. The prepubescent female sounds like she may be

   crying or sniffling. The face-masked individual then untied her, then retied her hands

   behind her back. At this point, the prepubescent female is completely naked laying on the

   gray sheet and her back is facing the camera. The individual spanks the prepubescent

   female hard, grabs her from her ponytail, and forcefully turns her around to face a black

   dildo that is attached to a mirror. The prepubescent female begins to suck the dildo. Shortly

   after that, the prepubescent female lays on the ground on her back while the face-masked

   individual inserts what appears to be a sex toy 'vibrato' into the prepubescent female's

   private part while pushing a dildo into her mouth. The video length was 2 minutes exactly.




                                             6
   6:22-mj-00091-KEW Document 1 Filed in ED/OK on 03/30/22 Page 8 of 8



   h. On May 7,2021, at 15:55, UCC sent STANBERRY mUltiple videos of adults engaging in

      various sexual acts.

       17.    Based on the aforementioned factual information, I believe that probable cause

exists for the issuance of a Criminal Complaint charging TRENT STANBERRY with a violation

of Title 18 U.S.C. § 2252(a)(2) and 2252(a)(4)(B) the possession and distribution of child

pornography

       18.    I, therefore, respectfully request that the attached warrant be issued authorizing

the arrest of TRENT STANBERRY.




                                                     Adam A. Babiker
                                                     Special Agent
                                                     Federal Bureau of Investigation




                                                7
